                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION – FLINT

IN RE:
                                                                   CASE NO. 17-32807
BOYT WOODSON JOHNSON JR.,                                          CHAPTER 7
                                                                   HON. DANIEL S. OPPERMAN
                         Debtor.
                                                  _/

               TRUSTEE’S MOTION TO SELL REAL PROPERTY FREE AND
                  CLEAR OF LIENS PURSUANT TO 11 U.S.C. §363(f) AND
                TRANSFERRING LIENS TO PROCEEDS AND TO REQUIRE
                      DEBTOR TO COOPERATE DURING SALE

         The Chapter 7 Trustee, by and through her counsel, Collene K. Corcoran, hereby

  files this Motion to Sell Real Property Free and Clear of Liens Pursuant to 11 U.S.C.

  §363(f) and Transferring Liens to Proceeds and to Require Debtor to Cooperate During Sale, for

  the real estate located at 16298 Sunset Way, Linden, MI 48451. The Debtor owns this property

  solely in his name, and the property was listed on Schedule A with a value in the amount of

  $400,000, and liens listed on Schedule D in the amount of $280,827. Initially the parties had

  agreed to settle the non-exempt equity in the real property, but to date, the Debtor has not paid

  sufficient funds to pay his creditors in full. In support of the Motion, the Trustee states as

  follows:

         1. On December 12, 2017, the Debtor filed his voluntary Chapter 7 case.

         2.    Collene K. Corcoran was appointed the Chapter 7 Trustee in this case.

         3.    On Schedule A, the Debtor listed real estate located at 16298 Sunset Way, Linden,

               Michigan 48451 (the “Real Property”) with a listed value of $400,000.00, having the

               following legal description:

              Property located in the County of Genesee, State of Michigan, described as follows:

              Lot 19, Sunset Beach, filed in Plat Liber 22, Page 35,Genesee County Records
              Commonly known as 16298 Sunset Way, Linden, MI
              Tax Id No. 01-35-502-077


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  4.     The Trustee had her realtor conduct an appraisal, and the value of the Real Property as

  of February 23, 2018 was between $426,000 and $452,000.

  5.    The Real Property is owned solely in the Debtor’s name.

  6.     According to the mortgage statements as of January, 2018, the balance owed on the

  first mortgage is $220,834 and the balance owed on the second mortgage is $33,768 as of

  April, 2018.

  7.     Using the value of the Real Property in the amount of $435,000, there is equity in the

  Real Property in the amount of $123,048 ($180,398 equity, less Debtor’s exemption in the

  amount of $57,350.00).

  8.    The parties had attempted to settle the non-exempt equity issue in this case, but to date,

  the Debtor has only paid the estate the sum of $20,000, which is insufficient to pay the

  creditors in full, and not as much as the creditors would receive if the Real Property were to

  be sold by the estate.

  9.     The Trustee would like to list the Real Property for sale, but needs the cooperation of

  the Debtor and the non-owner that resides on the Property.

  10. The Trustee has waited 10 months for the Debtor to pay the estate, but the Trustee was

  informed that the Debtor does not have any other funds to do so.

  11.    The Real Property is property of the estate pursuant to 11 U.S.C. §541.

  12. Pursuant to 11 U.S.C. §363, the Trustee is authorized to sell property of the estate free

  and clear of liens, provided that the liens are paid, which the Trustee will do upon

  consummation of a sale.

  13.     The Trustee desires to list the Real Property for sale with a broker, and to pay the

  mortgages in full at closing and to pay the Debtor’s allowed exemption from the funds in

  the estate.



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      14.     The Trustee needs to cooperation of the Debtor during the listing period since the

      Debtor and his non-debtor spouse reside at the Real Property.

      15.    Although the Debtor has objected to 2 claims, which claim exemptions are pending,

      there is still insufficient funds in the estate to pay all creditors in full, and the Trustee is

      required to sell the Real Property.

      16.      Pursuant to 11 U.S.C. §521(a)(3), the Debtor is required to “cooperate with the

      trustee as necessary to enable the trustee to perform the trustee’s duties under this title.”

      17.     The Trustee believes the sale of the Real Property is in the best interests of creditors

      as this will provide payment to creditors in full.


        WHEREFORE, the Chapter 7 Trustee, Collene K. Corcoran, respectfully requests that

this Court enter an Order authorizing the Trustee to list and sell the real property and to require the

Debtor to cooperate during the sale.


                                                       Respectfully submitted,

Dated: October 30, 2018
                                                       /s/ Collene K. Corcoran
                                                       Collene K. Corcoran (P41500)
                                                       Attorney for Chapter 7 Trustee
                                                       PO Box 535
                                                       Oxford, MI 48371
                                                       (248) 969-9300
                                                       trusteecorcoran@gmail.com




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                                            UNITED STATES BANKRUPTCY
                                            COURT EASTERN DISTRICT OF
                                           MICHIGAN SOUTHERN DIVISION –
                                                      FLINT

   IN RE:
                                                                   CASE NO. 17-32807
   BOYT WOODSON JOHNSON JR.,                                       CHAPTER 7
                                                                   HON. DANIEL S. OPPERMAN
                                 Debtor.
                                                  _/

       ORDER GRANTING TRUSTEE’S MOTION TO SELL REAL PROPERTY FREE AND
       CLEAR OF LIENS PURSUANT TO 11 U.S.C. §363(f) AND TRANSFERRING LIENS TO
          PROCEEDS AND TO REQUIRE DEBTOR TO COOPERATE DURING SALE
          This matter having come before the Court on the Trustee’s Motion to Sell Real Property of

  the Debtor Free and Clear of Liens Pursuant to 11 U.S.C. §363(f) and Transferring Liens to Proceeds and

  there being no objection to the Motion or all objections being resolved;

          IT IS ORDERED that the Trustee is authorized to sell the real property located at 16298

Sunset Way, Linden, Michigan 48451 (the “Real Property”), free and Clear of All Liens pursuant to 11 U.S.C.

§363(f), said property legally described as follows:

             Property located in the County of Genesee, State of Michigan, described as follows:

              Lot 19, Sunset Beach, filed in Plat Liber 22, Page 35,Genesee County Records
              Commonly known as 16298 Sunset Way, Linden, MI
              Tax Id No. 01-35-502-077

          IT IS FURTHER ORDERED that the sale is “AS IS,’ with no warranties provided except as to

title, and the Trustee shall provide a Trustee’s Deed to the buyer at closing.

          IT IS FURTHER ORDERED that the valid mortgage liens shall be paid in full at closing.

          IT IS FURTHER ORDERED that the Debtor, Boyt Woodson Johnson, Jr., shall cooperate

with the Trustee during the listing and sale of the Real Property.




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                                           UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF MICHIGAN
                                               SOUTHERN DIVISION – FLINT
 IN RE:
                                                                CASE NO. 17-32807
 BOYT WOODSON JOHNSON JR.,                                      CHAPTER 7
                                                                HON. DANIEL S. OPPERMAN
                                   Debtor.
                                                 _/
Debtor’s address: 16298 Sunset Way, Linden, MI 48451
Last 4 digits of SSN: xxxx 9034
                                            NOTICE OF TIME TO RESPOND TO
                  TRUSTEE’S MOTION TO SELL REAL PROPERTY FREE AND CLEAR OF LIENS PURSUANT TO
                     11 U.S.C. §363(f) AND TRANSFERRING LIENS TO PROCEEDS AND TO REQUIRE DEBTOR
                                                 TO COOPERATE DURING SALE

          The Chapter 7 Trustee, Collene K. Corcoran, has filed papers with the Court to sell the debtor’s real property
 located at 16298 Sunset Way, Linden, MI 48451, free and clear of liens, with all liens to attach to the proceeds of the sale, except for
 the mortgages which will be paid in full at closing. The sale will be a cash sale, with no warranties or representations of any
 kind, except as to title. The Trustee also is requesting that the Court order the Debtor to cooperate with the Trustee during the
 listing and sale of the Real Property. The Trustee believes that there should be sufficient funds to pay all creditors in full if the
 Real Property is sold. The Trustee believes this sale is in the best interest of creditors.
          Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you have
 one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one).
          If you do not want the court to authorize the Trustee’s Motion to Sell Real Property Free and Clear of Liens, or if you
 want the Court to consider your views on the motion, within 21 days after service of this Notice, you or your attorney must:
                                                                                       1
  1. File with the Court a written response or an answer, explaining your position at:
                                                     United States Bankruptcy Court
                                                          226 West Second Street
                                                               Flint, MI 48502
 If you mail your response to the Court for filing, you must mail it early enough so the Court will receive it on or before the date
 stated above. All attorneys are required to file pleadings electronically.
 You must also mail a copy to:
 Collene K. Corcoran, Trustee
 PO Box 535
 Oxford, MI 48371

 2. If a response or answer is timely filed and served, the clerk will schedule a hearing on the motion and you will be
      served with a notice of the date, time and location of the hearing.
 If you or your attorney do not take these steps, the Court may decide that you do not oppose the relief sought in the
 Motion, and may enter an order granting the relief.

Dated: October 30, 2018                                                 Respectfully submitted,

                                                                        /s/ Collene K. Corcoran
                                                                        Collene K. Corcoran (P41500)
                                                                        Attorney for Chapter 7 Trustee
                                                                        PO Box 535
                                                                        Oxford, MI 48371
                                                                        (248) 969-9300
                                                                        trusteecorcoran@gmail.com

          1 Response or answer must comply with F.R.Civ.P. 8(b), (c) and (e)




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                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION – FLINT


IN RE:
                                                 CASE NO. 17-32807
BOYT WOODSON JOHNSON JR.,                        CHAPTER 7
                                                 HON. DANIEL S. OPPERMAN
                        Debtor.
                                    _/



                                         PROOF OF SERVICE

       I certify that on October 30, 2018, I electronically filed the TRUSTEE’S MOTION TO SELL
REAL PROPERTY FREE AND CLEAR OF LIENS AND TRANSFERRING LIENS TO
PROCEEDS, PROPOSED ORDER, NOTICE OF TIME TO RESPOND TO TRUSTEE’S MOTION
TO SELL REAL ESTATE OF DEBTOR AND PROOF OF SERVICE with the Clerk of the Court
using the ECF system which will send notification of such filing to the following:

Office of the United States Trustee
paul.randel@usdoj.gov

David W. Brown
davidbrownlaw@live.com

and I hereby certify that on October 30, 2018, I have mailed by U.S. Postal Service the NOTICE OF
TIME TO RESPOND TO TRUSTEE’S MOTION TO SELL REAL ESTATE to the following
parties:

all those on the attached matrix
via first class US mail, postage prepaid.

                                               /s/ Collene K. Corcoran
                                               Collene K. Corcoran (P41500)
                                               PO Box 535
                                               Oxford, MI 48371
                                               (248) 969-9300
                                               trusteecorcoran@gmail.com




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Label Matrix for local noticing                      First Independence Bank                              67-A Judicial District Court
0645-4                                               7310 Woodward Ave, Ste 101                           17100 Silver Parkway, Ste. C
Case 17-32807-dof                                    Detroit, MI 48202-3165                               Case No.:C17D1672-GC
Eastern District of Michigan                                                                              Fenton, MI 48430-3468
Flint
Tue Oct 30 15:59:26 EDT 2018
Boyt Johnson, Sr.                                    Chase Bank                                           Chase Home Finance
487 Front Street                                     P.O. Box 15298                                       Attn: Bankruptcy Department
Boyne City, MI 49712-1615                            Wilmington, DE 19850-5298                            3415 Vision Drive
                                                                                                          Columbus, OH 43219-6009


Discover                                             Discover Bank                                        Equifax Credit Information Services
PO Box 6103                                          Discover Products Inc                                PO Box 740241
Carol Stream, IL 60197-6103                          PO Box 3025                                          Atlanta, GA 30374-0241
                                                     New Albany, OH 43054-3025


Experian National Consumer Assist. Ctr               First Independence Bank                              INTERNAL REVENUE SERVICE
PO Box 4500                                          c/o Joel Grand, Esq                                  P.O. Box 7346
Allen, TX 75013-1311                                 Grand & Grand, PLLC                                  Philadelphia, PA 19101-7346
                                                     31731 Northwestern Highway, Suite 115
                                                     Farmington, MI 48334-1654

(p)INTERNAL REVENUE SERVICE                          Infiniti Financial Services                          Michigan Department of Treasury
CENTRALIZED INSOLVENCY OPERATIONS                    P.O. Box 660360                                      Collection/Bankruptcy Unit
PO BOX 7346                                          Dallas, TX 75266-0360                                POB 30168
PHILADELPHIA PA 19101-7346                                                                                Lansing, MI 48909-7668


Rochelle & Thomas Wiswell                            State of Michigan                                    Toyota Motor Credit Corporation
8425 Bray                                            Department of Treasury                               c/o Becket and Lee LLP
Mount Morris, MI 48458-8987                          PO Box 30158                                         PO Box 3001
                                                     Lansing, MI 48909-7658                               Malvern PA 19355-0701


TransUnion LLC                                       Boyt Woodson Johnson Jr.                             Collene Corcoran
Consumer Solutions                                   16298 Sunset Way                                     P. O. Box 535
PO Box 2000                                          Linden, MI 48451-9639                                Oxford, MI 48371-0535
Crum Lynne, PA 19022-2000


Collene K. Corcoran                                  David W. Brown
P.O. Box 535                                         1820 N. Lapeer Road, Suite 2A
Oxford, MI 48371-0535                                Lapeer, MI 48446-7663




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


IRS
PO Box 802501
Cincinnati, OH 45280

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                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)JPMorgan Chase Bank, National Association         (u)United States of America                          (u)Sada NcNiel




End of Label Matrix
Mailable recipients     22
Bypassed recipients      3
Total                   25




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